Case 5:16-cv-05102-PKH Document 9   Filed 06/17/16 Page 1 of 11 PageID #: 36
Case 5:16-cv-05102-PKH Document 9   Filed 06/17/16 Page 2 of 11 PageID #: 37
Case 5:16-cv-05102-PKH Document 9   Filed 06/17/16 Page 3 of 11 PageID #: 38
Case 5:16-cv-05102-PKH Document 9   Filed 06/17/16 Page 4 of 11 PageID #: 39
Case 5:16-cv-05102-PKH Document 9   Filed 06/17/16 Page 5 of 11 PageID #: 40
Case 5:16-cv-05102-PKH Document 9   Filed 06/17/16 Page 6 of 11 PageID #: 41
Case 5:16-cv-05102-PKH Document 9   Filed 06/17/16 Page 7 of 11 PageID #: 42
Case 5:16-cv-05102-PKH Document 9   Filed 06/17/16 Page 8 of 11 PageID #: 43
Case 5:16-cv-05102-PKH Document 9   Filed 06/17/16 Page 9 of 11 PageID #: 44
Case 5:16-cv-05102-PKH Document 9   Filed 06/17/16 Page 10 of 11 PageID #: 45
Case 5:16-cv-05102-PKH Document 9   Filed 06/17/16 Page 11 of 11 PageID #: 46
